

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-15,040-03






EX PARTE NATHANIEL MADEN, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 2010-428,469-B IN THE 137TH DISTRICT COURT


FROM LUBBOCK COUNTY






	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of aggravated
assault and sentenced to ninety-nine years' imprisonment.  The Seventh Court of Appeals affirmed
his conviction. Maden v. State, No. 07-11-0110-CR (Tex. App.-Amarillo March 13, 2013).  

	Applicant contends that he was denied the right to file a pro se petition for discretionary
review because counsel failed to timely notify Applicant that his conviction had been affirmed. 	Applicant has provided a letter from appellate counsel to support his claim.  Based on that
letter and the mail logs from the Texas Department of Criminal Justice showing that Applicant did
not receive counsel's letter within the thirty day window to file a petition for discretionary review,
the trial court has entered findings of fact and conclusions of law that Applicant was denied his right
to file a pro se petition for discretionary review.  The trial court recommends that relief be granted. 
Ex parte Riley, 193 S.W.3d 900 (Tex. Crim. App. 2003). 

	We agree.  We find, therefore, that Applicant is entitled to the opportunity to file an out-of-time petition for discretionary review of the judgment of the Seventh Court of Appeals in Cause No.
07-11-0110-CR that affirmed his conviction in Cause No. 2010-428,469 from the 137th District
Court of Lubbock County.  Applicant shall file his petition for discretionary review with this Court
within 30 days of the date on which this Court's mandate issues.


Delivered:  February 12, 2014

Do not publish


